Case: 1:25-cr-00282-PAB Doc #:1 Filed: 06/11/25 1of10. PagelD #: 1

FILED
JUN 11 2025

CLERK, U.S. DISTRICT COU
NORTHERN DISTRICT OF ORO
CLEVELAND

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO

EASTERN DIVISION
UNITED STATES OF AMERICA, ) INDICTMENT
)
Plaintiff, ) ; 0 2 8 9
) T25CRO
v. ) CASE NO. i e239
) Title 18, United States Code,
DENICE JAMES, } Sections 656, 1028A(a)(1), and
) 134402)
Defendant. )
JUDGE BARKER
GENERAL ALLEGATIONS
1. At all times material to this Indictment, First Federal Savings of Lorain

(hereinafter, “First Federal”) was a financial institution, as defined under Title 18, United States
Code, Section 20, the deposits of which were insured by the Federal Deposit Insurance
Corporation, a federal government agency that insures bank deposits against substantial losses
with the two-fold aim of preventing a bank’s collapse and instilling public confidence in the
nation’s banking system.

2, At all times relevant to this Indictment, Defendant DENICE JAMES was

employed by First Federal as a bank teller. JAMES had normal bank teller responsibilities.

MANNER AND MEANS
3. At all times relevant to this Indictment, it was part of the scheme that:
a. Defendant had access to withdraw funds from bank accounts and used this

access to withdraw cash from the following victims’ accounts, whose identities are known to the

grand jury: R.H., P.P., D.G., C.C., C.G., LM, J.T. and J.B.
Case: 1:25-cr-00282-PAB Doc #: 1 Filed: 06/11/25 2 of 10. PagelD #: 2

b. After the funds were withdrawn, Defendant falsely and fraudulently
created a withdrawal slip for each transaction using a victim’s account numbers and by forging
the victim’s name.

c. Defendant would process the fraudulent transaction near First Federal’s
closing time and without a customer present.

d. Defendant electronically processed the fraudulent withdrawal slip so that
it was recorded in First Federal’s records as a cash withdrawal made by a victim.

e. Asa result of this activity, Defendant defrauded and attempted to defraud
First Federal and the victims out of money and property valued at approximately $76,263.

COUNT 1
(Bank Fraud, 18 U.S.C. § 1344(2))

The Grand Jury charges:

4. Paragraphs 1 through 3 of this Indictment are re-alleged and are incorporated by
reference as if fully set forth herein.

5. From on or about July 25, 2023, to on or about October 27,2023, in the Norther
District of Ohio, Eastern Division, Defendant DENICE JAMES knowingly executed a scheme to
obtain money, funds, and other property owned by victim R.H., and under the custody and
control of a financial institution, to wit: First Federal, by means of false and fraudulent pretenses,

representations, or promises, in violation of Title 18, United States Code, Section 1344(2).

COUNT 2
(Aggravated Identity Theft, 18 U.S.C. § 1028A(a}(1))

The Grand Jury further charges:
6. Paragraphs 1 through 3 of this Indictment are re-alleged and are incorporated by

reference as if fully set forth herein.
Case: 1:25-cr-00282-PAB Doc #: 1 Filed: 06/11/25 3 of 10. PagelD #: 3

7. From on or about July 25, 2023, to on or about October 27, 2023, in the Northern
District of Ohio, Eastern Division, Defendant DENICE JAMES, did knowingly use, without
lawful authority, a means of identification of R.H., during and in relation to a felony violation
enumerated in 18 U.S.C. § 1028A(c), to wit: Bank Fraud, in violation of 18 U.S.C. § 1344(2), as
alleged in Count 1, knowing that the means of identification belonged to another actual person,
in violation of Title 18, United States Code, Section 1028A(a)(1).

COUNT 3
(Bank Fraud, 18 U.S.C. § 1344(2))

The Grand Jury further charges:

8. Paragraphs 1| through 3 of this Indictment are re-alleged and are incorporated by
reference as if fully set forth herein.

9. From on or about April 3, 2023 to on or about October 17, 2023, in the Northern
District of Ohio, Eastern Division, Defendant DENICE JAMES knowingly executed a scheme to
obtain money, funds, and other property owned by victim P.P., and under the custody and control
of a financial institution, to wit: First Federal, by means of false and fraudulent pretenses,
representations, or promises, in violation of Title 18, United States Code, Section 1344(2),

COUNT 4
(Aggravated Identity Theft, 18 U.S.C. § 1028A(a)(1))

The Grand Jury further charges:

10. Paragraphs 1 through 3 of this Indictment are re-alleged and are incorporated by
reference as if fully set forth herein.

11, = From on or about April 3, 2023 to on or about October 17, 2023, in the Northern
District of Ohio, Eastern Division, Defendant DENICE JAMES, did knowingly use, without

lawful authority, a means of identification of P.P., during and in relation to a felony violation
Case: 1:25-cr-00282-PAB Doc #: 1 Filed: 06/11/25 4 of 10. PagelD #: 4

enumerated in 18 U.S.C. § 1028A(c), to wit: Bank Fraud, in violation of 18 U.S.C. § 1344(2), as
alleged in Count 3. knowing that the means of identification belonged to another actual person,
in violation of Title 18, United States Code, Section 1028A(a)(1).

COUNT 5
(Bank Fraud, 18 U.S.C. § 1344(2))

The Grand Jury further charges:

12. Paragraphs 1 through 3 of this Indictment are re-alleged and are incorporated by
reference as if fully set forth herein.

13. From on or about February 18, 2023 to on or about October 19, 2023, in the
Northern District of Ohio, Eastern Division, Defendant DENICE JAMES knowingly executed a
scheme to obtain money, funds, and other property owned by victim D.G., and under the custody
and control of a financial institution, to wit: First Federal, by means of false and fraudulent
pretenses, representations, or promises, in violation of Title 18, United States Code, Section
1344(2).

COUNT 6
(Aggravated Identity Theft, 18 U.S.C. § 1028A@)1))

The Grand Jury further charges:

14. Paragraphs | through 3 of this Indictment are re-alleged and are incorporated by
reference as if fully set forth herein.

15. From on or about February 18, 2023 to on or about October 19, 2023, in the
Northern District of Ohio, Eastern Division, Defendant DENICE JAMES, did knowingly use,
without lawful authority, a means of identification of D.G., during and in relation to a felony

violation enumerated in 18 U.S.C. § 1028A(c), to wit: Bank Fraud, in violation of 18 U.S.C. §
Case: 1:25-cr-00282-PAB Doc #: 1 Filed: 06/11/25 5 of 10. PagelID #: 5

1344(2), as alleged in Count 5, knowing that the means of identification belonged to another
actual person, in violation of Title 18, United States Code, Section 1028A(a)(1).

COUNT 7
(Bank Fraud, 18 U.S.C. § 1344(2))

The Grand Jury further charges:

16. Paragraphs | through 3 of this Indictment are re-alleged and are incorporated by
reference as if fully set forth herein.

17. From on or about June 22, 2022, to on or about October 27, 2023, in the Northern
District of Ohio, Eastern Division, Defendant DENICE JAMES knowingly executed a scheme to
obtain money, funds, and other property owned by victim C.C., and under the custody and
control of a financial institution, to wit: First Federal, by means of false and fraudulent pretenses,
representations, or promises, in violation of Title 18, United States Code, Section 1344(2).

COUNT 8
(Aggravated Identity Theft, 18 U.S.C. § 1028A(a)(1))

The Grand Jury further charges:

18. Paragraphs | through 3 of this Indictment are re-alleged and are incorporated by
reference as if fully set forth herein.

19. From on or about June 22, 2022 to on or about October 27, 2023, in the Northern
District of Ohio, Eastern Division, Defendant DENICE JAMES, did knowingly use, without
lawful authority, a means of identification of C.C., during and in relation to a felony violation
enumerated in 18 U.S.C. § 1028A(c), to wit: Bank Fraud, in violation of 18 U.S.C. § 1344(2), as
alleged in Count 7, knowing that the means of identification belonged to another actual person,

in violation of Title 18, United States Code, Section 1028A(a)(1).
Case: 1:25-cr-00282-PAB Doc #: 1 Filed: 06/11/25 6 of 10. PagelD #: 6

COUNT 9
(Bank Fraud, 18 U.S.C. § 1344(2))

The Grand Jury further charges:

20. Paragraphs | through 3 of this Indictment are re-alleged and are incorporated by
reference as if fully set forth herein.

21. From on or about March 21, 2023, to on or about October 19, 2023, in the
Northern District of Ohio, Eastern Division, Defendant DENICE JAMES knowingly executed a
scheme to obtain money, funds, and other property owned by victim C.G., and under the custody
and control of a financial institution, to wit: First Federal, by means of false and fraudulent
pretenses, representations, or promises, in violation of Title 18, United States Code, Section
1344(2),

COUNT 10
(Aggravated Identity Theft, 18 U.S.C. § 1028A(a)(1)

The Grand Jury further charges:

22. Paragraphs | through 3 of this Indictment are re-alleged and are incorporated by
reference as if fully set forth herein.

23. From on or about March 21, 2023 to on or about October 19, 2023, in the
Northern District of Ohio, Eastern Division, Defendant DENICE JAMES, did knowingly use,
without lawful authority, a means of identification of C.G., during and in relation to a felony
violation enumerated in 18 U.S.C. § 1028A(c), to wit: Bank Fraud, in violation of 18 U.S.C. §
1344(2), as alleged in Count 9, knowing that the means of identification belonged to another

actual person, in violation of Title 18, United States Code, Section 1028A(a)(1)}.
Case: 1:25-cr-00282-PAB Doc #:1 Filed: 06/11/25 7 of 10. PagelD #: 7

COUNT 11
(Bank Fraud, 18 U.S.C. § 1344(2))

The Grand Jury further charges:

24. Paragraphs 1 through 3 of this Indictment are re-alleged and are incorporated by
reference as if fully set forth herein.

25. Fromon or about September 13, 2023, in the Northern District of Ohio, Eastern
Division, Defendant DENICE JAMES knowingly executed a scheme to obtain money, funds,
and other property owned by victim J.M., and under the custody and control of a financial
institution, to wit: First Federal, by means of false and fraudulent pretenses, representations, or
promises, in violation of Title 18, United States Code, Section 1344(2).

COUNT 12
(Aggravated Identity Theft, 18 U.S.C. § LO28A(a\(1))

The Grand Jury further charges:

26. Paragraphs | through 3 of this Indictment are re-alleged and are incorporated by
reference as if fully set forth herein.

27, From on or about September 13, 2023, in the Northern District of Ohio, Eastern
Division, Defendant DENICE JAMES, did knowingly use, without lawful authority, a means of
identification of J.M., during and in relation to a felony violation enumerated in
18 U.S.C. § 1028A(c), to wit: Bank Fraud, in violation of 18 U.S.C. § 1344(2), as alleged in
Count 11, knowing that the means of identification belonged to another actual person, in

violation of Title 18, United States Code, Section 1028A(a)(1).
Case: 1:25-cr-00282-PAB Doc #: 1 Filed: 06/11/25 8 of 10. PagelD #: 8

COUNT 13
(Bank Fraud, 18 U.S.C, § 1344(2))

The Grand Jury further charges:

28. Paragraphs 1 through 3 of this Indictment are re-alleged and are incorporated by
reference as if fully set forth herein.

29. From on or about February 15, 2023, to on or about October 19, 2023, in the
Northern District of Ohio, Eastern Division, Defendant DENICE JAMES knowingly executed a
scheme to obtain money, funds, and other property owned by victim J.T., and under the custody
and control of a financial institution, to wit: First Federal, by means of false and frauduient
pretenses, representations, or promises, in violation of Title 18, United States Code, Section
1344(2).

COUNT 14
(Aggravated Identity Theft, 18 U.S.C. § 1028A(a)(1))

The Grand Jury further charges:

30, Paragraphs 1 through 3 of this Indictment are re-alleged and are incorporated by
reference as if fully set forth herein.

31. From on or about February 15, 2023 to on or about October 19, 2023, in the
Northern District of Ohio, Eastern Division, Defendant DENICE JAMES, did knowingly use,
without lawful authority, a means of identification of J.T., during and in relation to a felony
violation enumerated in 18 U.S.C. § 1028A(c), to wit: Bank Fraud, in violation of 18 U.S.C. §
1344(2), as alleged in Count 13, knowing that the means of identification belonged to another

actuai person, in violation of Title 18, United States Code, Section 1028A(a)(1).
Case: 1:25-cr-00282-PAB Doc #: 1 Filed: 06/11/25 9 of 10. PagelD #: 9

COUNT 15
(Bank Fraud, 18 U.S.C. § 1344(2))

The Grand Jury further charges:

32. Paragraphs 1 through 3 of this Indictment are re-alleged and are incorporated by
reference as if fully set forth herein.

33. From on or about December 22, 2022, in the Northern District of Ohio, Eastern
Division, Defendant DENICE JAMES knowingly executed a scheme to obtain money, funds,
and other property owned by victim J.B., and under the custody and control of a financial
institution, to wit: First Federal, by means of false and fraudulent pretenses, representations, or
promises, in violation of Title 18, United States Code, Section 1344(2).

COUNT 16
(Aggravated Identity Theft, 18 U.S.C. § 1028A(a)(1))

The Grand Jury further charges:

34, Paragraphs 1 through 3 of this Indictment are re-alleged and are incorporated by
reference as if fully set forth herein.

35. From on or about December 22, 2022, in the Northern District of Ohio, Eastern
Division, Defendant DENICE JAMES, did knowingly use, without lawful authority, a means of
identification of J.B., during and in relation to a felony violation enumerated in
18 U.S.C. § 1028A(c), to wit: Bank Fraud, in violation of 18 U.S.C. § 1344(2), as alleged in
Count 15, knowing that the means of identification belonged to another actual person, in

violation of Title 18, United States Code, Section 1028A(a)(1).
Case: 1:25-cr-00282-PAB Doc #:1 Filed: 06/11/25 10 0f 10. PagelD #: 10

COUNT 17
(Bank Embezzlement, 18 U.S.C. § 656)

The Grand Jury further charges:

36. Paragraphs | through 3 of this Indictment are re-alleged and are incorporated by
reference as if fully set forth herein.

37. On orabout November 2, 2023, in the Northern District of Ohio, Eastern
Division, Defendant DENICE JAMES, being an employee of First Federal Savings of Lorain,
the deposits of which were insured by the Federal Deposit Insurance Corporation, with intent to
injure and defraud First Federal, willfully embezzled and purioined the sum of approximately

$1,000 of the moneys of First Federal, in violation of Title 18, United States Code, Section 656.

A TRUE BILL.

Original document - Signatures on file with the Clerk of Courts, pursuant to the E-Government

Act of 2002.

10
